                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF
                                 PENNSYLVANIA

 CRAWL SPACE DOOR SYSTEM, INC.              :
                                            :
                                            :
                   PLAINTIFF,               :
            v.                              :
                                            :
 WHITE AND WILLIAMS, LLP                    :       2:22-cv-04698-GAM
                                            :
                                            :
                    DEFENDANT.              :


                                       ORDER

      AND NOW, this ______ day of _________________, 2023, it is hereby ORDERED that

Defendant’s Motion to Dismiss is DENIED.


                                             _______________________________
                                             Gerald Austin McHugh, U.S.D.J.
